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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                    §
                                             §
        Plaintiff,                           §
VS.                                          §   CRIMINAL ACTION NO. H-91-176-1
                                             §
HENRY WILLIAM NUNEZ,                         §
                                             §
        Defendant.                           §
                          (CA H-04-2367)     §



                             ORDER DISMISSING ACTION

       After careful and independent consideration of the record in this case, the Court

       ORDERS that Petitioner Henry William Nunez’s Motion to Vacate, Set Aside or

Correct Sentence pursuant to 28 U.S.C. § 2255 is DENIED and his action DISMISSED.




       SIGNED at Houston, Texas, this 28th day of September, 2007.




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